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                                                                      [Docket No. 12]

                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY
                          CAMDEN VICINAGE


  VICTOR THANKGOD,

               Plaintiff,
                                                Civil No. 19-20617 (RMB/KMW)
        v.

  BELLWETHER BEHAVIORAL                         ORDER
  HEALTH,

               Defendant.


RENÉE MARIE BUMB, United States District Judge

      This matter comes before the Court upon the filing of a Supplemental Motion

for Default Judgment [Docket No. 12] by Plaintiff Victor Thankgod against

Defendant Bellwether Behavioral Health. For the reasons expressed in the Opinion

of today’s date, and for good cause shown,

      IT IS this 8th day of November 2021, hereby

      ORDERED that Plaintiff’s Supplemental Motion for Default Judgment is

[Docket No. 12] is GRANTED, IN PART, and judgment is RESERVED, IN

PART; and it is further

      ORDERED that Plaintiff’s Motion is granted insofar as Default Judgment is

granted in his favor with respect to his ADA claim and insofar as he is entitled to

$4,300 in attorney’s fees and costs. However, the Court reserves judgment, in

accordance with the Opinion of today’s date, on the amount of backpay to which
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Plaintiff is entitled. Therefore, at this juncture, the Court will not enter judgment in

favor of Victor Thankgod and against Bellwether Behavioral Health; and it is further

      ORDERED that Plaintiff shall file additional supplemental briefing to address

the deficiencies described in the Opinion of today’s date, by no later than Friday,

November 19, 2021; and it is further

      ORDERED that Plaintiff’s Supplemental Motion [Docket No. 12] is

ADMINISTRATIVELY TERMINATED pending Plaintiff’s supplemental briefing.


                                 s/Renée Marie Bumb
                                 Renée Marie Bumb
                                 United States District Judge




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